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                                  Filed Filed
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                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            61 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:840
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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            62 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:841
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                                                                                  000299
Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            63 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:842
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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            64 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:843
                             Affidavit Page 7 of 25




                                                                                  000301
Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            65 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:844
                             Affidavit Page 8 of 25




                                                                                  000302
Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            66 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:845
                             Affidavit Page 9 of 25




                                                                                  000303
Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            67 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:846
                            Affidavit Page 10 of 25




                                                                                  000304
Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            68 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:847
                            Affidavit Page 11 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            69 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:848
                            Affidavit Page 12 of 25




                                                                                  000306
Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            70 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:849
                            Affidavit Page 13 of 25




                                                                                  000307
Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            71 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:850
                            Affidavit Page 14 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            72 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:851
                            Affidavit Page 15 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            73 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:852
                            Affidavit Page 16 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            74 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:853
                            Affidavit Page 17 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            75 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:854
                            Affidavit Page 18 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            76 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:855
                            Affidavit Page 19 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            77 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:856
                            Affidavit Page 20 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            78 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:857
                            Affidavit Page 21 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            79 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:858
                            Affidavit Page 22 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            80 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:859
                            Affidavit Page 23 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            81 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:860
                            Affidavit Page 24 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-1 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            82 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:861
                            Affidavit Page 25 of 25




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            83 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:862
                             Affidavit Page 1 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            84 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:863
                             Affidavit Page 2 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            85 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:864
                             Affidavit Page 3 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            86 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:865
                             Affidavit Page 4 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            87 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:866
                             Affidavit Page 5 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            88 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:867
                             Affidavit Page 6 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            89 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:868
                             Affidavit Page 7 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            90 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:869
                             Affidavit Page 8 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            91 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:870
                             Affidavit Page 9 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
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                                                            92 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:871
                            Affidavit Page 10 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            93 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:872
                            Affidavit Page 11 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            94 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:873
                            Affidavit Page 12 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            95 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:874
                            Affidavit Page 13 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            96 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:875
                            Affidavit Page 14 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            97 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:876
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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
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                                                            98 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:877
                            Affidavit Page 16 of 18




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Case
 Case8:16-cv-01257-BRO
      8:06-ap-01313-ES Document
                       Doc 414-2 10-1
                                   FiledFiled
                                         01/23/14
                                              10/06/16
                                                    Entered
                                                       Page01/23/14
                                                            99 of 280
                                                                    19:32:55
                                                                       Page ID Desc
                                                                               #:878
                            Affidavit Page 17 of 18




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-210-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                              100 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:879
                             Affidavit Page 18 of 18




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                              101 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:880
                              Affidavit Page 1 of 23




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                              102 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:881
                              Affidavit Page 2 of 23




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                              103 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:882
                              Affidavit Page 3 of 23




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                              104 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:883
                              Affidavit Page 4 of 23




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                              105 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:884
                              Affidavit Page 5 of 23




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:885
                              Affidavit Page 6 of 23




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                          Page IDDesc
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 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
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                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:887
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:888
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
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                                                                       19:32:55
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
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                                               10/06/16
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:890
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:891
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
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                                               10/06/16
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                                                                       19:32:55
                                                                          Page IDDesc
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
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                                                                       19:32:55
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
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                                               10/06/16
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                                                                       19:32:55
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
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 Case8:16-cv-01257-BRO
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                        Doc 414-310-1
                                    FiledFiled
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 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:899
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                          Page IDDesc
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:901
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-310-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              123 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:902
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:903
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             125 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:904
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             126 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:905
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             127 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:906
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             128 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:907
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:908
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             130 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:909
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:910
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:911
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:912
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:913
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:914
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:915
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              137 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:916
                              Exhibit Page 14 of 21




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:917
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:918
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:919
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:920
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              142 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:921
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              143 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:922
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-410-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:923
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             145 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:924
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:925
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:926
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:927
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:928
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:929
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:930
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:931
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:932
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:933
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:934
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:935
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:936
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:937
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:938
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:939
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:940
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:941
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:942
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:943
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:944
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:945
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:946
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:947
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:948
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:949
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:950
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                       19:32:55
                                                                          Page IDDesc
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-510-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
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                                                                          Page IDDesc
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                   FiledFiled
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                   FiledFiled
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                                                                                 #:957
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                                                                            000415
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             179 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:958
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                                                                            000416
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             180 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:959
                              Exhibit Page 6 of 20




                                                                            000417
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             181 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:960
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                                                                            000418
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             182 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:961
                              Exhibit Page 8 of 20




                                                                            000419
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             183 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:962
                              Exhibit Page 9 of 20




                                                                            000420
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              184 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:963
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                                                                             000421
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              185 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:964
                              Exhibit Page 11 of 20




                                                                             000422
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              186 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:965
                              Exhibit Page 12 of 20




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              187 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:966
                              Exhibit Page 13 of 20




                                                                             000424
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              188 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:967
                              Exhibit Page 14 of 20




                                                                             000425
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              189 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:968
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                                                                             000426
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              190 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:969
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:970
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              192 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:971
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
                                                              193 of 280
                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:972
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-610-1
                                    FiledFiled
                                           01/23/14
                                               10/06/16
                                                      Entered
                                                         Page 01/23/14
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                                                                       19:32:55
                                                                          Page IDDesc
                                                                                  #:973
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             195 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:974
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:975
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             197 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:976
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
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                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:977
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             199 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:978
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             200 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:979
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             201 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:980
                               Charts Page 7 of 16




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             202 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:981
                               Charts Page 8 of 16




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             203 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:982
                               Charts Page 9 of 16




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             204 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:983
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             205 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:984
                              Charts Page 11 of 16




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             206 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:985
                              Charts Page 12 of 16




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             207 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:986
                              Charts Page 13 of 16




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             208 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:987
                              Charts Page 14 of 16




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             209 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:988
                              Charts Page 15 of 16




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-710-1
                                   FiledFiled
                                          01/23/14
                                              10/06/16
                                                     Entered
                                                        Page 01/23/14
                                                             210 of 280
                                                                      19:32:55
                                                                         Page IDDesc
                                                                                 #:989
                              Charts Page 16 of 16




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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-810-1FiledFiled
                                            01/23/14
                                                10/06/16
                                                       Entered
                                                          Page 01/23/14
                                                               211 of 280
                                                                        19:32:55
                                                                           Page IDDesc
                                                                                   #:990
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-810-1FiledFiled
                                            01/23/14
                                                10/06/16
                                                       Entered
                                                          Page 01/23/14
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                                                                        19:32:55
                                                                           Page IDDesc
                                                                                   #:991
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-810-1FiledFiled
                                            01/23/14
                                                10/06/16
                                                       Entered
                                                          Page 01/23/14
                                                               213 of 280
                                                                        19:32:55
                                                                           Page IDDesc
                                                                                   #:992
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                                                                                    000450
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-810-1FiledFiled
                                            01/23/14
                                                10/06/16
                                                       Entered
                                                          Page 01/23/14
                                                               214 of 280
                                                                        19:32:55
                                                                           Page IDDesc
                                                                                   #:993
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                                                                                    000451
Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-810-1FiledFiled
                                            01/23/14
                                                10/06/16
                                                       Entered
                                                          Page 01/23/14
                                                               215 of 280
                                                                        19:32:55
                                                                           Page IDDesc
                                                                                   #:994
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Case
 Case8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                        Doc 414-810-1FiledFiled
                                            01/23/14
                                                10/06/16
                                                       Entered
                                                          Page 01/23/14
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                                                                        19:32:55
                                                                           Page IDDesc
                                                                                   #:995
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-810-1FiledFiled
                                            01/23/14
                                                10/06/16
                                                       Entered
                                                          Page 01/23/14
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                                                                        19:32:55
                                                                           Page IDDesc
                                                                                   #:996
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-810-1FiledFiled
                                            01/23/14
                                                10/06/16
                                                       Entered
                                                          Page 01/23/14
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                                                                        19:32:55
                                                                           Page IDDesc
                                                                                   #:997
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Case
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       8:06-ap-01313-ES Document
                        Doc 414-810-1FiledFiled
                                            01/23/14
                                                10/06/16
                                                       Entered
                                                          Page 01/23/14
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                                                                        19:32:55
                                                                           Page IDDesc
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Case
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       8:06-ap-01313-ES Document
                         Doc 414-810-1
                                     FiledFiled
                                            01/23/14
                                                10/06/16
                                                       Entered
                                                          Page 01/23/14
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                                                                        19:32:55
                                                                           Page IDDesc
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  Case
     8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                         Doc 414-810-1
                                     Filed
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                                            01/23/14
                                               10/06/16Entered
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                                                                        19:32:55
                                                                           Page ID Desc
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Case
  Case
     8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                         Doc 414-810-1
                                     Filed
                                         Filed
                                            01/23/14
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                                                                        19:32:55
                                                                           Page ID Desc
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Case
  Case
     8:16-cv-01257-BRO
       8:06-ap-01313-ES Document
                         Doc 414-810-1
                                     Filed
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                                            01/23/14
                                               10/06/16Entered
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                                                                        19:32:55
                                                                           Page ID Desc
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